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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No.        CV 20-7736 MWF (PDx)                                     Date: September 28, 2021
Title       United States of America, ex rel. Curt Canales and Doug Bellows v.
            Nationwide Medical, Inc., et al.


Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                   Rita Sanchez                                        Not Reported
                   Deputy Clerk                                  Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                 Not Present                                        Not Present

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

      A review of the docket in this action reflects that the Complaint in this
action was unsealed on July 1, 2021 (Docket No. 13), and a Summons was issued
on July 20, 2021 (Docket No. 17).

      The Court ORDERS Plaintiffs to show cause why this action should not be
dismissed for lack of prosecution. In response to this Order to Show Cause, the
Court will accept the following no later than OCTOBER 19, 2021.

         BY PLAINTIFFS: PROOF OF SERVICE of Summons and Complaint
          on Defendant.

                  AND/OR

         BY DEFENDANT: RESPONSE TO THE COMPLAINT (“Response”)
          by Defendants. The parties may also file an appropriate stipulation to
          extend the time within which Defendant must respond to the Complaint.

                  OR

         BY PLAINTIFFS: APPLICATION FOR CLERK TO ENTER
          DEFAULT.




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      No oral argument on this matter will be heard unless otherwise ordered by
the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand
submitted upon the filing of the response to the Order to Show Cause. Failure to
respond to the Order to Show Cause by OCTOBER 19, 2021 will result in the
dismissal of this action.

        IT IS SO ORDERED.

                                                                Initials of Preparer: RS/sjm




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